Case 2:17-cv-12107-JMV-MF Document 17-8 Filed 08/10/18 Page 1 of 5 PageID: 206




Patrick J. Cerillo, Esq.
Patrick J. Cerillo, LLC
4 Walter E. Foran Blvd., Suite 402
Flemington, NJ 08822
Attorney ID No. 01481-1980
T: (908) 284-0997
F: (908) 284-0915
pjcerillolaw@comcast.net
Attorneys for Plaintiff

                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY


 MALIBU MEDIA, LLC,
                                            Case No. 2:17-cv-12107-JMV-MF
                   Plaintiff,

 v.

 JOE PARK,

                   Defendant.



               [PROPOSED] DEFAULT JUDGMENT AND
            PERMANENT INJUNCTION AGAINST JOE PARK

      THIS CAUSE is before the Court on Plaintiff’s Motion for Default Judgment

Against Joe Park (“Motion”). Having considered the Motion, being otherwise duly

advised in the premises, and good cause appearing, the Court hereby

      FINDS:

       1.   The address of Plaintiff is:
Case 2:17-cv-12107-JMV-MF Document 17-8 Filed 08/10/18 Page 2 of 5 PageID: 207




             30700 Russell Ranch Road, Suite 250
             Westlake Village, CA 91362

       2.    The name and address of Defendant is:

             Joe Park
             20 W Palisade Avenue Apt. 4218
             Englewood, NJ 07631-2755

       3.    This Court has jurisdiction over the subject matter of this case and the

parties.

       4.    Venue is proper in this District.

       5.    The Amended Complaint states claims for direct copyright

infringement, in violation of 17 U.S.C. § 106, and contributory copyright

infringement upon which relief may be granted against Defendant.

       6.    Defendant has failed to plead or otherwise defend against Plaintiff’s

Amended Complaint in this action.

       7.    Default was entered as to Defendant on July 2, 2018.

       8.    Defendant is not a minor, incompetent person or in active military

service.

       9.    By reason of default, Defendant has admitted the truth of the allegations

in Plaintiff’s Amended Complaint.

       10.   Under Count I of the Amended Complaint, Defendant is hereby found

liable to Plaintiff for willfully committing direct copyright infringement.

                                          2
Case 2:17-cv-12107-JMV-MF Document 17-8 Filed 08/10/18 Page 3 of 5 PageID: 208



      11.      Defendant will continue to cause Plaintiff irreparable injury.

Specifically, there is an existing threat of continued violations of Plaintiff’s

exclusive rights to reproduce, distribute, perform and display the 14 copyrighted

works listed on Exhibit A attached hereto (the “Works”) through Defendant’s use of

the BitTorrent protocol to upload and download the Works between and among peer

users without authorization from Plaintiff.

      12.      There will be no injury to Defendant caused by entry of a permanent

injunction requiring Defendant to cease infringing Plaintiff’s Works.

      13.      Entry of a permanent injunction against Defendant is in the public

interest because it “preserv[es] the integrity of copyright laws which encourage

individual effort and creativity by granting valuable enforceable rights.” DSC

Communications Corp. v. DGI Technologies, 898 F. Supp.1183, 1196 (N.D. Tex.

1995).

      14.      In accordance with Rule 65(d), Federal Rules of Civil Procedure, this

Default Judgment shall be binding upon Defendant and all other persons in active

concert or participation with Defendant who receive actual notice of this Default

Judgment.

      15.      Plaintiff has submitted a Declaration demonstrating that Plaintiff

expended a total of $559.99 in and costs, which amount this Court finds reasonable.

            Based on the foregoing findings, it is:


                                            3
Case 2:17-cv-12107-JMV-MF Document 17-8 Filed 08/10/18 Page 4 of 5 PageID: 209



          ORDERED AND ADJUDGED that Defendant Joe Park:

             (a)    shall pay to Plaintiff the sum of $10,500.00 in statutory damages,

as authorized under 17 U.S.C. § 504(c)(1), and $559.99 for costs, as authorized

under 17 U.S.C. § 505, making a total of $11,059.99, for which let execution issue

forthwith;

             (b)    shall pay to Plaintiff post-judgment interest at the current legal

rate allowed and accruing under 28 U.S.C. § 1961 as of the date of this Default

Judgment until the date of its satisfaction;

             (c)    be and hereby is enjoined from directly, contributorily or

indirectly infringing Plaintiff’s rights under federal or state law in the Works,

including, without limitation, by using the internet, BitTorrent or any other online

media distribution system to reproduce (e.g., download) or distribute the Works, or

to make the Works available for distribution to the public, except pursuant to a lawful

license or with the express authority or Plaintiff.

             (d)    Be and is hereby ordered to destroy all copies of Plaintiff’s works

that the Defendant Joe Park has downloaded onto any computer hard drive or server

without Plaintiff’s authorization, and shall destroy all copies of the Works

transferred onto any physical medium or device in Defendant Joe Park’s possession,

custody, or control.




                                           4
Case 2:17-cv-12107-JMV-MF Document 17-8 Filed 08/10/18 Page 5 of 5 PageID: 210



             (e)   The Court shall retain jurisdiction over this action for six months

or until the judgment is satisfied to entertain such further proceedings supplementary

and to enter such further orders as may be necessary or appropriate to implement

and enforce the provisions of this Default Judgment.

       DONE AND ORDERED this ___ day of ________________, 2018.




                                       By:
                                        UNITED STATES DISTRICT JUDGE




                                          5
